Case 4:05-cr-40064-LLP        Document 382      Filed 08/26/08     Page 1 of 1 PageID #: 1783



                             UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA                      FILED
                                                                               AUG 2G 2e08
                                     SOUTHERN DIVISION                          ~U          __
 ****************************************************************~**

                                            *
 BUD THEUS III,                             *              CIV 08-4110
                                            *              CR 05-40064
                       Petitioner,          *
                                            *
       -vs-                                 *             JUDGMENT
                                            *
 UNITED STATES OF AMERICA,                  *
                                            *
                       Respondent.          *
                                            *
 ******************************************************************************
       In accordance with the Memorandum Opinion issued on today's date,
       IT IS HEREBY ORDERED ADJUDGED AND DECREED that Theus' motion to vacate,
       set aside or correct sentence pursuant to 28 U.S.C. § 2255 (Doc.376) is dismissed.

                        n
       Dated this   Alii day of August, 2008.
                                             BY THE COURT:


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                                              awrence L. Piersol
                                             United States District Judge
 ATTEST:
 JOSEPfI,HAAS'lCLERK
 BY:~~~!JZffittM
       (SEA)             EPUTY
